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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY
   ---------------------------------------------------------------- x
  WEIGANG WANG, AND
  HAILONG YU
  on behalf of themselves and others similarly situated,
                                               Plaintiffs,              Case No: 15-cv-2950
                                   v.
  CHAPEI LLC
           d/b/a Wok Empire
  CHA LEE LO, and
  JOHN DOES #1-10
                                               Defendants.
   ---------------------------------------------------------------- x



                                                 MOTION TO
                                                WITHDRAW AS
                                                  COUNSEL

         Adam Dong, undersigned counsel, respectfully moves to withdraw as counsel for
  Plaintiffs in the above-captioned matter, as his last day with the law firm of Troy Law,
  PLLC is September 18, 2019. Troy Law, PLLC will continue to represent Plaintiffs in this
  matter, and no party will be prejudiced if this motion is granted.

        WHEREFORE, the undersigned counsel and Plaintiffs respectfully request that this
  Court permits Adam Dong to withdraw as counsel for Plaintiffs in this matter.

  Dated: September 18, 2019
         Flushing, NY
                                                                        Respectfully
                                                                        Submitted,

                                                                        TROY LAW, PLLC

                                                               By:      /s/ Adam Dong
                                                                        Adam Dong, Esq.
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